                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )           NO. 3:13-00097
                                               )           JUDGE SHARP
KYLE OAKLEY [16]                               )


                                          ORDER

        Pending before the Court is Defendant’s Motion to Set Change of Plea Hearing (Docket No.

521).

        The motion is GRANTED and the hearing is hereby scheduled for Friday, August 1,2014,

at 2:30 p.m.

        It is so ORDERED.




                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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